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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 NICOLE MEYER, AND DANIEL
 MEREMA individually and on behalf of
 all others similarly situated,

                        Plaintiffs,
                                                         Case No.:
        v.

 IAS LOGISTICS DFW, LLC, d/b/a PINNACLE
 LOGISTICS,

                        Defendant,



                    CLASS AND COLLECTIVE ACTION COMPLAINT

       NOW COMES Plaintiffs Nicole Meyer (“Nicole”) and Daniel Merma (“Daniel”)

(collectively “Plaintiffs”) on behalf of herself and all other plaintiffs similarly situated, by and

through their attorneys, and for their Class and Collective Action Complaint against Defendant

Defendant IAS Logistics DFW, LLC, d/b/a Pinnacle Logistics (referred to herein as “Pinnacle” or

“Defendant”) states as follows:

                                      Nature of the Action

       1.      This civil action is brought by the above-named plaintiffs who brings this class and

 collective action claim for overtime wages under the Fair Labor Standards Act, 29 U.S.C. § 201

 et seq. (“FLSA”) pursuant to 29 U.S.C. § 216(b) and under the Illinois Minimum Wage Law

 (“IMWL”), 820 ILCS § 105/1 et seq pursuant to Fed. R. Civ. Pro 23.

                                               Parties

       2.      Plaintiff Nicole Meyer is a natural person and citizen of the State of Illinois.

       3.      Plaintiff Daniel Merema is a natural person and citizen of the State of Illinois.


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       4.      Pinnacle is a Delaware limited liability company with its principal place of business

in Fort Worth, Texas.

       5.      Defendant is an enterprise engaged in commerce or in the production of goods for

commerce within the meaning of Section 203(s)(1)(A) of the FLSA.

       6.      During the last three years, Defendant’s annual gross volume of sales made or

business done has exceeded $500,000, exclusive of excise tax.

       7.      Defendant is the Plaintiffs’ “employer” as that term is defined by the FLSA. 29

U.S.C. § 203(d).

       8.      Defendant is the Plaintiffs’ “employer” as defined by the IMWL. 820 ILCS

105/3(c).

       9.      Plaintiffs were Defendant’s “employee” as that term is defined by the FLSA. 29

U.S.C. §203(e)(1).

       10.     Plaintiffs were Defendant’s “employee” as that term is defined by the IMWL. 820

ILCS 105/3(d).

                                     Jurisdiction and Venue

       11.     Subject matter jurisdiction is conferred on this Court by Title 28 U.S.C. § 1337 and

by 29 U.S.C. § 216(b).

       12.     Venue is proper in this Judicial District as all of the events arising out of this case

arose in this Judicial District.

                                       Factual Allegations

       13.     Plaintiffs worked for Defendant within the past three years.




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      14.      Defendant does not pay Plaintiffs and similarly situated employees proper overtime

wages of one and one-half times their regular rate of pay for all hours worked over forty hours in

a work week.

      15.      This occurs because Defendant does not include shift differentials when calculating

the regular rate of pay, thus Defendant pays employees at a lower overtime rate of pay in violation

of the FLSA and IMWL

      16.      By example, Nicole Meyer did not receive one and one-half times her regular rate

of pay for overtime hours during the pay periods: 07/21/2019-08/03/2019; 08/04/2019-

08/17/2019; and 10/13/2019-10/26/2019. Daniel Merema did not receive one and one-half times

his regular rate of pay for overtime hours during the pay periods: 11/11/2018-11/24/2018;

11/25/2018-12/08/2018; 12/09/2018-12/22/2018; 01/06/2019-01/19/2019.

      17.      Plaintiffs performed their job responsibilities for Defendant in the State of Illinois.

      18.      Other similarly situated employees have been employed by the Defendant and have

not been paid the required overtime wages at one and one-half times their regular rate of pay.

      19.      The named Plaintiffs, and similarly situated employees, were not exempt from the

overtime provisions of the FLSA.

                  CLASS AND COLLECTIVE ACTION ALLEGATIONS

      20.      Plaintiffs seek to maintain this suit as a Collective pursuant to 29 U.S.C. §216(b)

and as a Class pursuant to Fed. R. Civ. Pro. 23 on behalf of themselves and all other non-exempt

employees who were not fully compensated for overtime hours worked.

      21.      Plaintiffs and other similarly situated current and former employees in the asserted

class regularly worked over 40 hours per week but were not fully paid their overtime hours at one

and one-half times their regular rate of pay.



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      22.     Plaintiffs and asserted members of the Collective and Class are similarly situated

because, inter alia, they all were not paid the required overtime rate of one and one-half times

their regular rate of pay for all work in excess of 40 hours per week and had such rights

undermined and neglected by Defendant’s unlawful practices and policies

      23.     Defendant has encouraged, permitted, and required the Class and Collective to

work without required overtime compensation of one and one-half times the regular rate of pay.

      24.     Defendant has known that Plaintiffs and other members of the Class and Collective

have been deprived of required overtime compensation. Nonetheless, Defendant has operated

under a scheme to deny the Plaintiffs and the Class and Collective the required compensation of

one and one-half time their regular rate of pay for work in excess of 40 hours.

      25.     There are estimated to be dozens of other current and former employees within the

asserted class for this action during the material time who are similarly situated to Plaintiffs. With

such numbers of similar claims for unpaid compensation, a class action is superior procedure for

adjudicating such claims. Plaintiffs request that the Court authorize and supervise notice to the

members of the asserted classes so that all claims may be resolved efficiently in a single

proceeding.

      26.     The records, if any, should be in the custody or control of Defendant concerning

the members of the asserted class, the number of hours actually worked by Plaintiffs and all other

similarly situated employees, and the compensation actually paid, or not paid, to such employees.

      27.     Plaintiffs will fairly and adequately protect the interests of each proposed class

member and has retained counsel that is experienced in class actions and employment litigation.

Plaintiffs have no interest that is contrary to, or in conflict with, members of the class.

                       COUNT I - FAIR LABOR STANDARDS ACT
                        (Plaintiffs Individually and on Behalf of All


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                  Similarly Situated Employees Pursuant to 29 U.S.C. §216)

       28.     The Plaintiffs re-alleges and incorporates by reference paragraphs 1-27

       29.     Under the FLSA, Plaintiffs and the Collective were entitled to be paid at the

 overtime rate by Defendant for each hour worked in excess of 40 hours each work week at one

 and one-half times their regular rate of pay.

       30.     The proper overtime rate is computed by multiplying 1.5 times an employee’s

 regular hourly rate.

       31.     However, Defendant failed to compensate the Collective at the proper overtime rate

 for all the work they performed in excess of 40 hours per week in violation of the FLSA because

 they did not capture all compensation when calculating the overtime rate.

       32.     Upon information and belief, Defendant’s practices were not based upon

 Defendant’s review of any policy or publication of the United States Department of Labor and

 therefore was willful and deliberate.

       33.     Due to Defendant’s violations of the FLSA, the FLSA Class is entitled to recover

 from Defendant their unpaid compensation, liquidated damages, reasonable attorney’s fees, and

 the costs of this action, pursuant to 29 U.S.C.§216(b).

       WHEREFORE, the Plaintiffs request the following relief, individually and on behalf of

similarly situated employees:

       A.      A declaratory judgement that Defendant violated the overtime wage provision of

               the FLSA as to the Plaintiffs and similarly situated employees;

       B.      A declaratory judgment that Defendant’s violations of the FLSA was willful;

       B.      Unpaid overtime compensation;

       B.      An additional amount equal as liquidated damages;

       C.      Prejudgment interest;

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      D.      Reasonable attorneys’ fees, and costs and disbursements of this action, pursuant to

              29 U.S.C. § 216(b); and

      E.      Such other and further relief as this Court deems appropriate and just.

                     COUNT II - ILLINOIS MINIMUM WAGE LAW
                        (Plaintiffs Individually and on Behalf of All
               Similarly Situated Employees Pursuant to Fed. R. Civ. Pro 23)

      34.     Plaintiff hereby alleges and incorporates by reference paragraph 1 through 33.


      35.     This count arises from Defendant’s violation of the overtime compensation

provisions of the IMWL, 820 ILCS § 105/1 et seq.


      36.     Under the IMWL, Defendant was and remains obligated to compensate Plaintiffs,

and similarly situated employees, for all hours worked in excess of 40 hours in any individual

work week. Overtime compensation must be paid at a rate of not less than one and one-half times

the regular rate of pay.


      37.     Plaintiffs were regularly permitted, encouraged and/or required to work in excess

of 40 hours per week but was not compensated at the required one and one-half times their regular

rate for such overtime work because Defendant did not include all necessary compensation when

determining the overtime rate of pay.


      38.     By failing to pay overtime compensation due to Plaintiffs, Defendants willfully,

knowingly and/or recklessly violated the IMWL which requires overtime compensation of one

and one-half times the regular rate to be paid.


      39.     As a result of Defendant’s policy and practice of withholding overtime

compensation, Plaintiffs and similarly situated employees have been damaged in that they have

not received wages due to them pursuant to the IMWL.

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       WHEREFORE, Plaintiffs requests the following relief individually and on behalf of

similarly situated employees:

       A.      A Declaratory Judgement that Defendant violated the minimum wage provisions of

               the IMWL as to the Plaintiffs and similarly situated employees;

       B.      A declaratory judgement that Defendant’s violations of the IMWL were willful;

       C.      Unpaid overtime compensation;

       D.      A judgment of punitive damages, including statutory interest of 5% per month,as

               provided by IMWL;

       E.      Treble damages, as provided by IMWL;

       E.      A judgement of reasonable attorney’s fees and costs incurred in filing this action;

               and

       F.      Such other and further relief as this Court deems appropriate and just.

                                DEMAND FOR JURY TRIAL

       Plaintiffs demand a trial by jury on all questions of fact raised by this Complaint, including

FLSA claims.


Dated: April 28, 2020                                Respectfully Submitted,

                                                     By: /s/ John Kunze
                                                     One of the Attorneys for the Plaintiffs
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